     Case 2:20-cv-00072-SAB      ECF No. 118   filed 12/02/21   PageID.8166 Page 1 of 2



 1                                                                          FILED IN THE
                                                                        U.S. DISTRICT COURT
 2                                                                EASTERN DISTRICT OF WASHINGTON



 3                                                                 Dec 02, 2021
 4
                                                                       SEAN F. MCAVOY, CLERK




 5
 6                         UNITED STATES DISTRICT COURT
 7                       EASTERN DISTRICT OF WASHINGTON
 8
 9 ROSALIE JENSEN,                                 No. 2:20-CV-00072-SAB
10          Plaintiff,
11          v.
12 AMERICAN MEDICAL SYSTEMS,                       ORDER DISMISSING ACTION;
13 INC.                                            CLOSING FILE
14          Defendant.
15
16          Before the Court are the parties’ Joint Motion for Extension of Deadline for
17 Dismissal, ECF No. 116, and Joint Stipulated Motion to Dismiss With Prejudice,
18 ECF No. 117. The motions were heard without oral argument.
19          The parties indicate that they have executed a settlement agreement and ask
20 the Court to dismiss any and all claims asserted by Plaintiff against all parties in
21 this action with prejudice, with each party to bear their own attorney fees and
22 costs.
23          Accordingly, IT IS HEREBY ORDERED:
24          1.    The parties’ Joint Motion for Extension of Deadline for Dismissal,
25                ECF No. 116, is DENIED, as moot.
26          2.    The parties’ Joint Stipulated Motion to Dismiss with Prejudice, ECF
27                No. 117, is GRANTED.
28 //
        ORDER DISMISSING ACTION; CLOSING FILE ~ 1
     Case 2:20-cv-00072-SAB    ECF No. 118    filed 12/02/21   PageID.8167 Page 2 of 2



 1        3.   The claims asserted by Plaintiff in the above-captioned case are
 2             DISMISSED, with prejudice, with each party to bear their own
 3             attorney fees and costs.
 4        IT IS SO ORDERED. The Clerk of Court is directed to enter this Order,
 5 forward copies to counsel, and close the file.
 6        DATED this 2nd day of December 2021.
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11
                                     Stanley A. Bastian
12                            Chief United States District Judge
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      ORDER DISMISSING ACTION; CLOSING FILE ~ 2
